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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                            §
                                                  §
DIOGU KALU DIOGU II                               §               CASE NO. 21-33581
                                                  §               CHAPTER 7
                                                  §
         DEBTOR                                   §               CHIEF JUDGE DAVID R. JONES

                          NOTICE OF INTENT TO ABANDON PROPERTY

        Please take notice that Eva S. Engelhart, Chapter 7 Trustee (“Trustee”) intends to abandon the
following property of the estate, pursuant to 11 U.S.C. §554(a), for the reason that such property is
burdensome/valueless to the bankruptcy estate:

          All claims or causes of action, asserted or which could be asserted in any current or future venue
         arising from or related to:

                 (a) that certain Balloon Note dated July 29, 2011 in the original principal amount of
                 $420,000.00 by and between Diogu Kalu Diogu, II, as borrower and Green Bank, N.A., as
                 lender, and all amendments, extensions, modifications, allonges and/or any other
                 agreements related to the same, including, but not limited to:

                         (i) the Allonge dated June 10, 2021 between Veritex Community Bank as Assignor
                         and Lakeland West Capital 41, LLC as Assignee, and

                         (ii) the Real Estate Extension Letter Agreement dated August 3, 2016 between
                         Diogu Kalu Diogu, II, as borrower and Green Bank, N.A. as lender.

                 (b) that certain deed of trust dated July 29, 2011 and filed in the Fort Bend County, Texas
                 Real Property Records under Clerk’s File # 2011077666;

                 (c) that certain Assignment of Mortgage filed in the Fort Bend County, Texas Real Property
                 Records under Clerk’s File # 2021100855;

                 (d) that Tolling Agreement by and between Veritex Community Bank and Diogu Kalu
                 Diogu, II, dated December 18, 2020;

                 (e) any and all acts undertaken in furtherance of collection of the debt evidenced by the
                 foregoing paragraphs (a) through (d) from the Debtor and/or against real property
                 owned/occupied by the Debtor.

        Unless an objection/hearing request is filed with the Court and served on the Trustee within 14-
days of the mailing of this notice, said property shall be deemed abandoned.

                                                  Respectfully submitted,
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                             /s/ Marc Douglas Myers
                             ___________________________
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